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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

 UNITED STATES OF AMERICA                           §
                                                    §
 v.                                                 §    CRIMINAL NO. 4:10CR18 (7)
                                                    §
 KENNETH DAVID WILLIAMS                             §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

         Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Court referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on October 29, 2013, to determine whether Defendant violated his supervised

 release. Defendant was represented by Frank Henderson. The Government was represented by

 Ernest Gonazlez.

         On April 28, 2011, Defendant was sentenced by the Honorable Richard A. Schell, United

 States District Judge, to a sentence of 41 months imprisonment followed by a 3-year term of

 supervised release for the offense Possession of Pseudoephedrine, a List 1 Chemical, with Intent to

 Manufacture Methamphetamine. Defendant began his term of supervision on May 8, 2013.

         On August 23, 2013, the U.S. Probation Officer filed a Petition for Warrant or Summons for

 Offender Under Supervision (the “Petition”) (Dkt. 420). The Petition asserts that Defendant violated

 the following conditions of supervision: (1) Defendant shall notify the probation officer ten days

 prior to any change of residence or employment; (2) Defendant shall refrain from excessive use of

 alcohol and shall not purchase, possess, use, distribute, or administer any narcotic or other controlled




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 substance, or any paraphernalia related to such substances, except as prescribed by a physician; (3)

 Defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute,

 or administer any narcotic or other controlled substance, or any paraphernalia related to such

 substances, except as prescribed by a physician; (4) Defendant shall notify the probation officer

 within seventy-two hours of being arrested or questioned by a law enforcement officer; and (5)

 Defendant shall participate in a program of testing and treatment for drug abuse, under the guidance

 and direction of the U.S. Probation Office, until such time as Defendant is released from the program

 by the probation officer.

         The Petition alleges that Defendant committed the following violations: (1) Defendant was

 terminated from employment with Posado’s Restaurant on or about July 24, 2013, and Defendant

 failed to notify the U.S. Probation Office; (2) On July 12, 2013, Defendant tested positive for and

 admitted to illegally using amphetamines, methamphetamine, and MDMA (Ecstacy) while on

 supervised release. On July 19, 2013, Defendant tested positive for and admitted to smoking

 marijuana on July 12, 2013; (3) On August 15, 2013, Defendant tested positive for and admitted to

 illegally using methamphetamine while on supervised release; (4) On August 3, 2013, and on August

 6, 2013, Defendant made contact with Tyler Police due to traffic violations and Defendant failed to

 notify the U.S. Probation Office of such contact; and (5) On August 5, 2013, Defendant failed to

 report to the U.S. Probation Office for a random urine sample as required by the random urine

 collection program.

         At the hearing, Defendant entered a plea of true to the alleged violations. Defendant waived

 his right to allocute before the district judge and his right to object to the report and recommendation




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     of this Court. The Court finds that Defendant has violated the terms of his supervised release and

     that his supervised release should be revoked.

                                          RECOMMENDATION

            Pursuant to the Sentencing Reform Act of 1984 and having considered the arguments

     presented at the October 29, 2013 hearing, the Court recommends that Defendant be committed to
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     the custody of the Bureau of Prisons to be imprisoned for a term of ten (10) months, with no

     supervised release to follow. The Court further recommends that Defendant’s term of imprisonment

     be carried out in the Bureau of Prisons facilities located in Seagoville, Texas, if appropriate.

            SIGNED this 31st day of October, 2013.

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                                                      ____________________________________
                                                      DON D. BUSH
                                                      UNITED STATES MAGISTRATE JUDGE




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